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          2    888 West Sixth Street, Fourth Floor
               Los Angeles, California 90017
          3    Telephone: (213) 688-0460
               Facsimile: (213) 624-1942
          4
               Attorneys for Defendant
          5    Rosa Gasparian
          6

          7

          8
                                      UNITED STATES DISTRICT COURT
          9
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
        10

        11
               THE UNITED STATES OF                    )       CASE NO. CR S-05-0343 FCD
        12     AMERICA,                                )
                                                       )       STIPULATION AND ORDER TO
        13                    Plaintiff,               )       CONTINUE SENTENCING
                                                       )       HEARING
        14              v.                             )
                                                       )
        15     ROSA GASPARIAN                          )       Sentencing: April 28, 2008
                                                       )
        16                    Defendant.               )
                                                       )
        17     ____________________________            )
        18

        19
               TO THE HONORABLE FRANK C. DAMRELL, JR. JUDGE OF THE
        20     UNITED STATES DISTRICT COURT AND TO ASSISTANT UNITED
               STATES ATTORNEY R. STEVEN LAPHAM:
        21

        22              Defendant Rosa Gasparian, by and through her counsel of record, the Law
        23     Offices of Mark J. Werksman and the United States of America, by and through its
        24     representative, Assistant United States Attorney R. Steven Lapham, hereby agree
        25     and stipulate as follows:
        26              The Judgment and Sentencing currently set for April 28, 2008, at 10:00 a.m.
        27     ///
        28     ///
Mark J. Werksman
888 West Sixth St.
Fourth Floor
Los Angeles, CA 90017                                      1
                  Case 2:05-cr-00343-KJM Document 93 Filed 02/27/08 Page 2 of 2

          1    may be continued to July 14, 2008 at 10:00 a.m.. This extension is requested so
          2    that Defendant Gasparian may be sentenced with her co-defendants who are
          3    scheduled to be sentenced on for July 14, 2008.
          4

          5    Dated: February 26, 2008                    United States Attorney
          6                                                McGregor W. Scott
          7

          8                                          By: s/R. Steven Lapham
                                                         R. Steven Lapham
          9                                              Assistant United States Attorney
        10

        11     Dated: February 26, 2008              By:_____/s/_____________________
                                                          Mark J. Werksman
        12                                                Attorney for Defendant
                                                          Rosa Gasparian
        13

        14

        15

        16                                           ORDER
        17

        18              IT IS SO ORDERED.
        19

        20     Dated: February 27, 2008                _______________________________________
                                                       FRANK C. DAMRELL, JR.
        21                                             UNITED STATES DISTRICT JUDGE
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        28

Mark J. Werksman
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